USCA4 Appeal: 21-1043       Doc: 102       Filed: 10/03/2023   Pg: 1 of 2




                                                                    FILED: October 3, 2023


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


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                                              No. 21-1043
                                         (3:18-cv-02078-MGL)
                                         ___________________

        PLANNED PARENTHOOD SOUTH ATLANTIC; JULIE EDWARDS, on her
        behalf and on behalf of all others similarly situated

                       Plaintiffs - Appellees

        v.

        ROBERT M. KERR, in his official capacity as Director, South Carolina
        Department of Health and Human Services

                       Defendant - Appellant

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        REPRODUCTIVE RIGHTS AND JUSTICE ORGANIZATIONS AND ALLIED
        ORGANIZATIONS; NATIONAL HEALTH LAW PROGRAM; SOUTH
        CAROLINA APPLESEED LEGAL JUSTICE CENTER; VIRGINIA POVERTY
        LAW CENTER; NORTH CAROLINA JUSTICE CENTER; CHARLOTTE
        CENTER FOR LEGAL ADVOCACY; IPAS; SEXUALITY INFORMATION
        AND EDUCATION COUNCIL OF THE UNITED STATES; AMERICAN
        ACADEMY OF FAMILY PHYSICIANS; AMERICAN ACADEMY OF
        PEDIATRICS; AMERICAN COLLEGE OF NURSE-MIDWIVES; AMERICAN
        COLLEGE OF OBSTETRICIANS AND GYNECOLOGISTS; AMERICAN
        COLLEGE OF PHYSICIANS; AMERICAN MEDICAL ASSOCIATION;
        AMERICAN PSYCHIATRIC ASSOCIATION; NURSE PRACTITIONERS IN
        WOMENS HEALTH; SOCIETY FOR MATERNAL-FETAL MEDICINE;
USCA4 Appeal: 21-1043    Doc: 102       Filed: 10/03/2023    Pg: 2 of 2



        SOCIETY OF GYNECOLOGIC ONCOLOGY; SOCIETY OF OB/GYN
        HOSPITALISTS

                    Amici Supporting Appellee

                                    ___________________

                                         ORDER
                                    ___________________

             Upon consideration of appellees’ unopposed motion to submit on the briefs,

        the court denies the motion. The Clerk is directed to schedule this case for

         oral argument during the December 2023 court session.

                                             For the Court

                                             /s/ Nwamaka Anowi, Clerk
